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                                                                 EXHIBIT B

                                      Curriculum Vitae
                                         July 2017

Name: Deane Dougherty

Current Occupation: Deputy Assistant Director, Alternatives to Detention Division
                    U.S. Immigration and Customs Enforcement
                    U.S. Department of Homeland Security

Office Address: ICE Office of Enforcement and Removals
                Custody Management Divisions, Alternatives to Detention Division
                500 12th St., SW, Washington, D.C. 20024

Professional Background

I currently serve as a Supervisory Management Program Analyst (Deputy Assistant Director) for
Custody Management, Enforcement and Removal Operations (ERO), U.S. Immigration and
Customs Enforcement (ICE), Department of Homeland Security (DHS) in Washington, D.C. In
addition to serving in a variety of juvenile justice-centered positions in the Federal Government
since 2003, I also a served in a variety of other capacities, also focusing on youth. Additionally,
I am a U.S. military veteran. Specifically, this expertise includes:

   -   Nine years of military service, serving both oversees in the former Federal Republic of
       Germany as well as a senior Operations Officer with the White House Communications
       Agency under both Presidents Bush and Clinton.

   -   Three years providing programmatic oversight for at-risk juvenile justice community-
       based programs with the Department of Justice, Office of Juvenile Justice and
       Delinquency Prevention. In this capacity, I also participated in the nation’s first Prison
       Rape Elimination Act (PREA) initiative.

   -   Ten years of support in a variety of positions with DHS, most notably as Chief of the
       Juvenile and Family Residential Management Unit; I also continue to oversee this Unit in
       my current capacity.

As a result of this experience, I have participated in several large-scale projects and policy
initiatives aimed at improving conditions of confinement for vulnerable populations that are
involved in immigration proceedings, and authored ICE’s first Sexual Abuse and Prevention
Initiative Policy. I have provided expert testimony with regard to juveniles and families in ICE
detention, and co-authored the 2007 ICE Family Residential Standards which are currently under
revision. I have also participated in numerous conferences as a Subject Matter Expert on both
juvenile justice issues as well as family detention.
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Specific Professional Details

October 2010 – Present; Deputy Assistant Director, Alternatives to Detention Division,
Immigration and Customs and Enforcement.

In this capacity, I oversee the formal Alternatives to Detention Division which encompasses the
congressionally mandated Intensive Supervision Appearance Program, all national juvenile and
family immigration programs, and the national Bond Management Program. I manage a
combined annual budget of more than $150 Million. I oversee all programming for juveniles and
families who are in ICE custody while awaiting the outcome of their immigration proceedings.
During this time period, I also was appointed as the ERO Chief of Staff for a period of 12
months, during which time I served as liaison between all agency program and field offices, the
Office of the ICE Director, and DHS leadership.

In additional to overseeing three distinct Family Residential Facilities, I am responsible for
national training for approximately 75 Field Office Juvenile Coordinators who in turn bear the
responsibility for the care and custody of juveniles in their individual Areas of Operation. This
position also entails oversight of a national inspection program for the 24 juvenile facilities that
ICE occasionally utilizes when bedspace is not immediately available from its sister agency, the
U.S. Department of Health and Human Services, Office of Refugee and Resettlement. I also
serve as the ICE designee for the Coordinating Council on Juvenile Justice and Delinquency
Prevention, a congressionally mandated body that oversees all federal efforts on behalf of
juveniles. I work very closely with other Federal agencies and NGOs whose mission is to
support juvenile justice and improve conditions for our most vulnerable populations.

September 2003 – October 2006; Program Manager, U.S. Department of Justice, Office of
Juvenile Justice and Delinquency Prevention

In this capacity, I oversaw the development of long-term juvenile justice planning and
enforcement efforts across a seven State region. Also while with OJJDP, I was a program
manager for the Drug Free Communities Support Program, a grass-roots, anti-drug partnership
program funded through the Office of National Drug Control Policy. I managed 50 community
coalitions nationwide and a grant budget of $40 Million.

December 2000 – May 2003; Program Manager, Healthy Hoke Task Force, North Carolina

As Program Manager, I developed and implemented the Teen Pregnancy Prevention program,
the most successful such program in the State, serving 6,000 children and their families. I served
as advisor and program administrator, providing assistance to 27 youth-serving member agencies
regarding organizational programs, application processes and programs. I also co-hosted a local
radio talk show, Community Voices, to provide outreach support in promoting better public
understand of agency programs and mission.

October 1989 – April 1994; Operations Officer, Sergeant, The White House
Communications Agency, Washington, DC.
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As Operations Officer, I was a team lead for administrative and logistical support for various
personnel while traveling in support of the President of the United States (POTUS), worldwide.
In this capacity I served as the head liaison between the White House Communications Office,
the White House Staff, and the U.S. Secret Service. While traveling in support of the President, I
served as the primary lead for national Chambers of Commerce, and local and state governments
while preparing for the POTUS’ arrival.

Education

2000; Baccalaureate Degree, Political Science Major and Public Relations Minor, summa cum
laude, University of North Carolina, Pembroke, NC.

1996; Certificate Program, Emergency Management, University of North Carolina, Pembroke,
NC.

1990; Primary Leadership Development Course, U.S. Army, Fort Jackson, North Carolina.

1988; Basic Military Training, U.S. Army, Fort McClellan, Alabama.

Honors and Awards

United States: National Defense Service Medal; Army Service Ribbon; Good Conduct Medal;
Overseas Service Ribbon; Noncommissioned Officer Professional Development Ribbon;
Presidential Service Badge; Joint Service Achievement Medal (2); Joint Meritorious Service
Medal (2); Army Achievement Medal (2); ICE Directors Award for Meritorious Service (2010)
for Detention Reform; Thad B. Wester Community of Excellent Award (October 2002) for
outstanding achievement in promoting public awareness of juvenile justice issues in a Healthy
Carolinians community.
